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          AMANDA+LAWRENCE




+ Via ECF +


October 1, 2020


The Honorable Hildy Bowbeer
United States Magistrate Judge
734 Federal Building
316 N. Robert Street
St. Paul, MN 55101

         Re:       Peterson, et al., No. 19-cv-1129 (JRT/HB); In re Cattle Antitrust Litigation,
                   No. 19-cv-1222 (JRT/HB); In re DPP Beef Litigation, No. 20-cv-1319
                   (JRT/HB); and Erbert & Gerbert’s, Inc., No. 20-cv-1414 (JRT/HB)

Dear Judge Bowbeer:

       On behalf of the Plaintiffs in the above actions, we respond to Defendants’ request
(Cattle, ECF No. 281) seeking suspension of the discovery obligations ordered by this
Court in its April 14, September 8, and September 10, 2020 Orders (Cattle, ECF Nos. 196,
254, and 259). Plaintiffs do not oppose a stay of the meet and confer deadlines set forth in
those orders, but do oppose Defendants’ request that the limited document production
ordered by the Court be delayed until after Plaintiffs file amended complaints. As
explained below, enforcing the Order requiring this modest production of highly relevant
material is not only consistent with the approach taken in other cases, including that in
Pork, but furthers the “just, speedy, and inexpensive determination” of these actions. Fed.
R. Civ. P. 1.1

       On September 28, 2020, Judge Tunhiem’s Opinion and Order dismissed the Cattle
and Peterson Complaints with leave to re-plead (ECF No. 278) (“Opinion”). In the
Opinion, Judge Tunheim recognized that “[a]llegations of direct evidence of an agreement,
if sufficiently detailed, are independently adequate” to meet the concerted action

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       Had Defendants sought to meet and confer with Plaintiffs prior to communicating
with the Court (as they were required to do), Plaintiffs would have communicated this
proposed compromise. Indeed, Cattle and Peterson Plaintiffs wrote to each Defendant on
September 29, 2020 regarding the document productions at issue.

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requirement of Section 1 of the Sherman Act. Opinion at 11. However, the Opinion found
that Plaintiffs did not provide certain information regarding the Witnesses, such as the
employer of Witness 1 or the name of the feedlot at which Witness 2 worked.2 Opinion at
13. Unquestionably, Plaintiffs can (and will) add the details as to Witness 1 and 2 that the
Court found lacking. Defendants are well aware of these details, as Plaintiffs disclosed the
identities of the Witnesses and, by implication, their employers in their initial disclosures.
Thus, Plaintiffs’ amended pleading will provide the details sufficient to establish direct
evidence of an agreement under the criteria articulated by Judge Tunheim in his Opinion.

       The Opinion also asked that Plaintiffs provide Defendant-specific information as to
their activity in the market. As noted during the September 4, 2020 hearing, Defendants’
productions in response to the June 2020 Department of Justice Civil Investigative
Demands consists, at least in part, of transaction data relating to Defendants’ fed cattle
purchases and live cattle futures transactions during the Class Period. September 4, 2020
Hearing Transcript at 20:10-12, 42:12-43:13. Such transaction data, along with the other
materials produced to the DOJ, will assist Plaintiffs in including the defendant-by-
defendant detail that Judge Tunheim found missing from the parallel conduct allegations.
Indeed, in ordering the limited production of documents, this Court expressly contemplated
the possibility that dismissal with leave to replead would be ordered by Judge Tunheim.
See September 4, 2020 Hearing Transcript at 36:4-14. (“[Judge Tunheim] may very well,
as he did in In re Pork, grant leave to replead and . . . these documents could be of material
assistance to the plaintiffs in dealing with and taking advantage of that opportunity.”).
Although the existing Complaints have been dismissed, the Opinion provides a clear
roadmap to curing the deficiencies through amendment. It is well within this Court’s
discretion to allow the limited, non-burdensome discovery that it has already ordered to
continue pending the filing of the amended complaints. See Raymond v. Sloan, No. CIV.
1:13-423 WBS, 2014 WL 4215378, at *7 (D. Idaho Aug. 25, 2014) (after granting
defendant’s motion to dismiss with leave to amend, the court denied the defendant’s
motion to stay discovery). Indeed, as previously discussed, Courts routinely permit
expedited discovery of government productions in antitrust cases where motions to dismiss
have yet to be resolved. See, e.g., In re Broiler Chicken Antitrust Litig., No. 1:16-cv-08637,
2017 WL 4417447, at *3-4 (N.D. Ill. Sep. 28, 2017) (court ordered production of
documents already produced to the Florida Attorney General before resolution of any
motions to dismiss).



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        The Court also stated that the “queuing convention” alleged by Witness 2, could be
viewed as “a concerted refusal to deal, which is itself a violation of the Sherman Act,” thus
rejecting a key argument made in Defendants’ dismissal motions that the described
conduct is “not anticompetitive” and merely “standard contract principles of offer and
acceptance” (ECF No. 140 at 3 and 29). See Opinion at 13-14.
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        Defendants nonetheless rely heavily on In re Pork Antitrust Litig., 18-cv-1776
(JRT/HB) (“In re Pork”), ECF No. 367, but this case differs from Pork on both the
deficiencies identified in the dismissal opinion and the procedural posture of the ordered
discovery. To begin with, in Pork, Defendants had already produced all of the documents
that this Court ordered (namely, Agri-Stats’ prior DOJ production) at the time of the
dismissal opinion. The only deadlines and dates suspended by the stay there were the meet
and confer deadlines and the Court’s status conference (which Plaintiffs here also agree to
suspend). Here, by contrast, the document productions this Court ordered on September 10,
2020, are due to be made imminently. Furthermore, the plaintiffs in Pork did not rely upon
witness evidence and therefore were not instructed by the Court to simply supply further
details as to any witnesses.

        Defendants’ final argument that an assessment of relevance with respect to the
required production cannot occur until the amended complaints are filed strains credulity.
There is no suggestion anywhere in the Opinion that the amended complaints will do
anything other than bolster the detailed allegations supporting the existing claims of
conspiracy. Defendants are well aware of the nature of the alleged conspiracy, and by their
September 29, 2020 letters to each Defendant, Plaintiffs have already confirmed that the
amended complaints “will maintain the same claims previously advanced in the Plaintiffs’
prior complaints.” Moreover, the DPP Beef and Erbert & Gerbert’s Plaintiffs’ existing
complaints remain operative. Defendants thus face no obstacles in determining the
relevance of the documents produced to the DOJ regarding Plaintiffs’ claims. See Order re:
Production of Information Produced to Grand Jury, In re Lithium Ion Batteries Antitrust
Litig., Case No. 13-md-02420, Docket No. 200 (N.D. Cal. May 21, 2013) (attached as Ex.
M to Cattle ECF No. 219) (holding that the absence of an operative complaint did not
preclude a relevance assessment and ordering production of documents previously
produced to the DOJ prior to plaintiffs filing an amended complaint).

       Nor can Defendants point to any additional burden that might justify the stay.
Indeed, Defendants have no doubt already completed their relevance review given that
three weeks have passed since the Court’s September 10 Order and the small volume of
documents at issue. September 4, 2020 Hearing Transcript at 32:12-14 (productions were
“not a large volume of information”).3 Moreover, requiring Defendants to complete the
production now, rather than after Plaintiffs file their amended complaints, as Defendants
would have it, is a more efficient use of judicial and party resources. It makes no sense to
require Plaintiffs to amend now, only to then immediately seek leave to file a further
amended complaint to reflect the information the Defendants would then produce. Apart


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       Plaintiffs’ September 29, 2020 letters to Defendants also offered to stipulate as to
the confidentiality of these documents pursuant to the Protective Order to further reduce
Defendants’ burden.
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from informing Plaintiffs’ pleadings, the production will also assist the parties and the
Court to make key determinations about how the case will proceed more generally.

       For these reasons, Plaintiffs respectfully request that the Defendants’ letter motion
to suspend all discovery be denied. If the Court would find it helpful, Plaintiffs are
available for oral argument on these letters.

                                         Respectfully submitted,
                                         SCOTT+SCOTT ATTORNEYS AT LAW LLP

                                         /s Amanda F. Lawrence

                                         Amanda Lawrence
